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                 EXHIBIT 9
                State Court Complaint
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                                  1
                                      performed for the benefit of her marital community and/or vice versa with John Doe

                                  2   Davis. Defendant and John Doe Davis are collectively referred to as “Defendants”.
                                  3
                                               4.    Defendant’s alleged tortious conduct caused things to occur, and Plaintiff to
                                  4
                                      suffer damages, in Yavapai County.
                                  5
                                  6            5.    The amount in controversy herein exceeds the minimum amount required
                                  7
                                      for jurisdiction in this Court.
                                  8
                                               6.    Upon information and belief, jurisdiction and venue are proper in this
                                  9
                                 10   Court.
                                 11                                             FACTS
                                 12
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                                               7.    All of the allegations contained within the paragraphs above and below are
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                                 14   hereby incorporated by reference as if fully set out herein.
                                 15            8.    Plaintiff is the Dean of Students at Embry-Riddle Aeronautical University
                                 16
                                      in Prescott, Arizona (“ERAU”).
                                 17
                                 18            9.    Defendant is currently a student at ERAU.

                                 19            10.   Upon information and belief, prior to Plaintiff’s employment at ERAU,
                                 20
                                      Defendant filed a complaint with ERAU under Title IX of the Education Amendments of
                                 21
                                 22   1972 (“Title IX”), 20 U.S.C. §1681 et seq.

                                 23            11.   Defendant was displeased with how ERAU investigated the Title IX
                                 24
                                      complaint and/or its findings.
                                 25
                                               12.   In September of 2020, Defendant met with Plaintiff regarding Defendant’s
                                 26
                                 27   concerns.
                                 28


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                                  1
                                             13.    While Plaintiff attempted to be empathetic to Defendant’s concerns,

                                  2   Plaintiff made it very clear to Defendant during the meeting that Plaintiff is not, and has
                                  3
                                      never been, involved with overseeing or supervising any Title IX issues at ERAU.
                                  4
                                             14.    Plaintiff drew a diagram for Defendant on a whiteboard depicting the
                                  5
                                  6   supervision structure of Title IX management on campus.
                                  7
                                             15.    More specifically, Plaintiff drew a chart showing how Plaintiff supervises
                                  8
                                      another administrator on a half-time basis in her role as Associate Dean of Students only,
                                  9
                                 10   and how this administrator reports to ERAU’s legal counsel for her other half-time role as
                                 11   Title IX Coordinator.1
                                 12
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                                             16.    Plaintiff made it very clear to Defendant that Plaintiff had never read
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                                 14   Defendant’s entire case file and was unaware of all details concerning Defendant’s case.
                                 15          17.    During the meeting, Defendant acknowledged her understanding that
                                 16
                                      Plaintiff has nothing to do with any Title IX matters.
                                 17
                                 18          18.    Surprisingly, however, on or about February 15, 2021, Defendant published

                                 19   several false and defamatory statements on Change.org (the “Petition”). See Petition,
                                 20
                                      attached as Exhibit 1 hereto.
                                 21
                                 22          19.    Defendant knowingly made the false implication that Plaintiff was not only

                                 23   responsible for Defendant’s investigation taking over 150 days, but that Plaintiff was also
                                 24
                                      responsible for how things were handled post-investigation, even though Defendant was
                                 25
                                      well aware that this was false.
                                 26
                                 27
                                      1
                                       The supervision of the Title IX Coordinator has since changed; she is no longer the
                                 28   Associate Dean of Students on a half-time basis and is now the fulltime Title IX
                                      Coordinator.
                                                                                   3
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                                  1
                                               20.   Defendant also falsely published that “Dean of Students Rhondie Voorhees

                                  2   was asked to leave her last position at University of Montana for the culture she, and
                                  3
                                      other staff members perpetuated regarding how the college system of justice handles
                                  4
                                      rape.”
                                  5
                                  6            21.   The University of Montana stated that they elected not to renew Plaintiff’s
                                  7
                                      contract because the Dean of Students position was eliminated. The University of
                                  8
                                      Montana has stated this publicly, along with the fact that Plaintiff remained an employee
                                  9
                                 10   in good standing throughout and was paid fully for the duration of her contract period.
                                 11            22.   Defendant also falsely published that, “[i]n the total of 80 rapes over the
                                 12
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                                      span of three years Dean Dr. Voorhees oversaw, only one was convicted.”
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                                 14            23.   However, while at UM Plaintiff was never responsible for “overseeing”
                                 15   Title IX matters; throughout her time at UM as Dean of Students, there was a Title IX
                                 16
                                      Coordinator with those responsibilities.
                                 17
                                 18            24.   Additionally, there was not “80 rapes” in “three years” at the University of

                                 19   Montana at any time while Plaintiff was Dean of Students.
                                 20
                                               25.   In the Petition, Defendant also falsely states that, “Dean Rhondie made
                                 21
                                 22   Trans student drop out, after coming out. Stating they violated the student conduct after

                                 23   an incident that occurred 6mo prior.”
                                 24
                                               26.   Plaintiff vehemently rejects the characterization that she is anti-LGBTQ as
                                 25
                                      Defendant falsely implied. Moreover, the facts of that case, as described in the news
                                 26
                                 27   article the Defendant linked to in her own petition, indicate that the fact the student was
                                 28


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                                  1
                                      transgender had nothing to do with any student conduct action.

                                  2          27.    The false and defamatory statements contained in the Petition and
                                  3
                                      referenced above will hereinafter collectively be referred to as the “False Statements.”
                                  4
                                             28.    In addition to publishing the Petition, on February 15, 2021, Defendant
                                  5
                                  6   emailed at least 74 students and faculty at ERAU and directed them to “check out this
                                  7
                                      petition and share.” See Email, attached as Exhibit 2 hereto.
                                  8
                                             29.    Defendant also posted on Facebook.com the false and defamatory
                                  9
                                 10   implication that Plaintiff was directly connected to the mismanagement of Defendant’s
                                 11   Title IX case at ERAU.
                                 12
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                                             30.    Upon information and belief, Defendant also created and disseminated at
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                                 14   least four memes of Plaintiff, each containing a False Statement or variation thereof,
                                 15   designed and intended to impeach Plaintiff’s ability to adequately perform her duties as
                                 16
                                      the Dean of Students at ERAU.
                                 17
                                 18          31.    Defendant’s conduct was clearly intended to cause harm to Plaintiff’s

                                 19   reputation and interfere with her employment with ERAU.
                                 20
                                             32.    After Plaintiff confronted Defendant about why and how the False
                                 21
                                 22   Statements were not true, Defendant took several days to remove the Petition and the

                                 23   Facebook comment after receiving several demands from Plaintiff.
                                 24
                                             33.    On February 16, 2021, Defendant was also informed by a Title IX
                                 25
                                      investigator at ERAU that Plaintiff “has nothing to do with Title IX here at ERAU or any
                                 26
                                 27   of its processes.”
                                 28


                                                                                   5
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                                  1
                                             34.    However, even after learning from an actual Title IX investigator at ERAU

                                  2   that the Petition contained several false and defamatory statements, Defendant failed to
                                  3
                                      act promptly to remove the Petition.
                                  4
                                             35.    After receiving several demands from Plaintiff to delete the Petition,
                                  5
                                  6   Defendant finally did so on February 21, 2021.
                                  7
                                             36.    At this point, however, the False Statements began to spread well beyond
                                  8
                                      ERAU, and individuals who were not affiliated with ERAU began to share the Petition
                                  9
                                 10   on social media and make new negative comments about Plaintiff.
                                 11          37.    It was explained to Defendant the damage she caused and that she would
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                                      continue to cause if she did not promptly issue a retraction.
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                                 14          38.    To date, after giving her well over a month, Defendant has failed and
                                 15   refused to do so.
                                 16
                                             39.    Defendant continues to act with reckless indifference to the harm she
                                 17
                                 18   continues to cause by not issuing the retraction that she indicated was acceptable to her.

                                 19          40.    While Plaintiff has been extremely empathetic to Defendant under the
                                 20
                                      circumstances, Plaintiff cannot and will not allow Defendant to destroy Plaintiff’s
                                 21
                                 22   reputation, which has taken decades and countless sacrifices to build.

                                 23                COUNT I—DEFAMATION AND DEFAMATION PER SE
                                 24
                                             41.    All of the allegations contained within the paragraphs above and below are
                                 25
                                      hereby incorporated by reference as if fully set out herein.
                                 26
                                 27          42.    The False Statements made by Defendant are about and concerning
                                 28


                                                                                   6
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                                  1
                                      Plaintiff.

                                  2          43.     Without privilege, Defendant communicated the False Statements to
                                  3
                                      various third parties via the Internet and/or intentionally made such statements on the
                                  4
                                      Internet, which were accessible to third parties without password protection.
                                  5
                                  6          44.     Various third parties have viewed and commented on the False Statements
                                  7
                                      published on the Internet.
                                  8
                                             45.     Defendant also emailed the Petition to at least 74 people, including
                                  9
                                 10   students, faculty and staff through the campus email, and several people discussed the
                                 11   email with Plaintiff.
                                 12
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                                             46.     Given the manner in which the False Statements were published, it is
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                                 14   evident that the False Statements have been published to third parties with malice, spite,
                                 15   or ill will and with the intent of causing harm to the reputation, employment and
                                 16
                                      economic interests of Plaintiff.
                                 17
                                 18          47.     The False Statements published by Defendant impeach the honesty,

                                 19   integrity, or reputation of Plaintiff.
                                 20
                                             48.     The False Statements bring Plaintiff into disrepute, contempt, or ridicule.
                                 21
                                 22          49.     The False Statements made by Defendant constitute defamation per se and

                                 23   general damages are presumed as a matter of law.
                                 24
                                             50.     In making and publishing the False Statements, Defendant had knowledge
                                 25
                                      of or acted in reckless disregard as to the falsity of the False Statements.
                                 26
                                 27          51.     Defendant published the False Statements knowing that they would be
                                 28


                                                                                    7
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                                  1
                                      widely disseminated and result in pecuniary loss, as well as irreparable harm.

                                  2          52.     As a direct and proximate result of Defendant posting the False Statements,
                                  3
                                      Plaintiff has sustained, and will continue to sustain, immediate and irreparable harm and
                                  4
                                      injury including, but not limited to, damage to reputation, losses in business
                                  5
                                  6   opportunities, loss of earnings, loss of earning capacity, and a loss of business relations
                                  7
                                      with existing and future business prospects, including potentially ERAU and other
                                  8
                                      academic institutions.
                                  9
                                 10          53.     As a direct and proximate cause of the conduct by Defendant, Plaintiff has
                                 11   suffered, and will continue to suffer, humiliation, extreme emotional distress, anxiety,
                                 12
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                                      depression, stomach aches, headaches, lack of sleep, lack of a desire to eat, emotional
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                                 14   pain and suffering, and anguish.
                                 15          54.     Upon information and belief, Plaintiff has suffered a direct pecuniary loss
                                 16
                                      as the result of the publication of the False Statements.
                                 17
                                 18          55.     Plaintiff has suffered general and special damages in an amount to be

                                 19   proven at trial.
                                 20
                                             56.     In making and publishing the False Statements, Defendant acted
                                 21
                                 22   maliciously, willfully, wantonly, and unlawfully.

                                 23          57.     For such willful and malicious acts, Plaintiff hereby seeks punitive
                                 24
                                      damages in addition to actual damages.
                                 25
                                             58.     Defendant’s acts, omissions, conduct and transactions alleged herein were
                                 26
                                 27   aggravated, outrageous, and guided by evil motives wherein Defendant intended to harm
                                 28


                                                                                    8
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                                  1
                                      Plaintiff and/or consciously pursued a course of conduct knowing that it created a

                                  2   substantial risk of significant harm to Plaintiff.
                                  3
                                             59.    To dissuade Defendant from pursuing a similar course of conduct in the
                                  4
                                      future and to discourage other persons from similar conduct in the future, an award of
                                  5
                                  6   punitive damages should be awarded against Defendants in the sum of sufficient
                                  7
                                      magnitude to punish Defendant and to deter similar conduct by others.
                                  8
                                                     COUNT II—FALSE LIGHT INVASION OF PRIVACY
                                  9
                                 10          60.    All of the allegations contained within the paragraphs above and below are
                                 11   hereby incorporated by reference as if fully set out herein.
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                                             61.    In making and publishing the False Statements, Defendant caused Plaintiff
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                                 14   to be portrayed out of context and in false light.
                                 15          62.    The False Statements are about and concerning Plaintiff.
                                 16
                                             63.    Defendant communicated the False Statements to third parties via the
                                 17
                                 18   Internet and email and/or intentionally made such statements on the Internet accessible to

                                 19   third parties without password protection.
                                 20
                                             64.    Defendant’s False Statements are and would be highly offensive to a
                                 21
                                 22   reasonable person and have been published to third parties with the apparent intent of

                                 23   causing harm to Plaintiff.
                                 24
                                             65.    In making and publishing the False Statements, Defendant knew the False
                                 25
                                      Statements were false or acted in reckless disregard as to the falsity of the False
                                 26
                                 27   Statements.
                                 28


                                                                                     9
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                                  1
                                             66.    As a direct and proximate cause of the conduct by Defendant, Plaintiff has

                                  2   suffered, and will continue to suffer, humiliation, extreme emotional distress, anxiety,
                                  3
                                      depression, stomach aches, headaches, lack of sleep, lack of a desire to eat, emotional
                                  4
                                      pain and suffering, and anguish.
                                  5
                                  6          67.    In making and publishing the False Statements, Defendant acted
                                  7
                                      maliciously, willfully, wantonly, and unlawfully.
                                  8
                                             68.    For such willful and malicious acts, Plaintiff hereby seeks punitive
                                  9
                                 10   damages in addition to actual damages.
                                 11          69.    Defendant’s acts, omissions, conduct and transactions alleged herein were
                                 12
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                                      aggravated, outrageous, and guided by evil motives wherein Defendant intended to harm
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                                 13
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                                 14   Plaintiff and/or consciously pursued a course of conduct knowing that it created a
                                 15   substantial risk of significant harm to Plaintiff.
                                 16
                                             70.    To dissuade Defendant from pursuing a similar course of conduct in the
                                 17
                                 18   future and to discourage other persons from similar conduct in the future, an award of

                                 19   punitive damages should be awarded against Defendants in the sum of sufficient
                                 20
                                      magnitude to punish Defendant and to deter similar conduct by others.
                                 21
                                 22          COUNT III -- TORTIOUS INTERFERENCE WITH CURRENT AND
                                                      PROSPECTIVE BUSINESS RELATIONSHIPS
                                 23
                                 24
                                             71.    All of the allegations contained within the paragraphs above and below are

                                 25   hereby incorporated by reference as if fully set out herein.
                                 26
                                             72.    Plaintiff has existing business relationships with individuals, entities and
                                 27
                                      organizations relating to her profession in education.
                                 28


                                                                                    10
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                                  1
                                             73.     Plaintiff has a reasonable expectation of future business relationships with

                                  2   existing colleagues, and others with whom Plaintiff does business or with whom Plaintiff
                                  3
                                      may reasonably expect to do business. This expectancy is based, in part, on the
                                  4
                                      considerable time, energy, and resources it takes to develop the goodwill and reputation
                                  5
                                  6   associated with Plaintiff’s reputation.
                                  7
                                             74.     At all material times hereto, Defendant was aware of Plaintiff’s existing
                                  8
                                      and/or prospective business relationships.
                                  9
                                 10          75.     Upon information and belief, Defendant intentionally and/or purposefully
                                 11   interfered with Plaintiff’s existing and prospective relationships by unlawfully making
                                 12
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                                      the False Statements.
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                                 14          76.     Defendant communicated the False Statements to third parties via the
                                 15   Internet and/or intentionally made such statements on the Internet accessible to third
                                 16
                                      parties without password protection.
                                 17
                                 18          77.     As a direct and proximate result of Defendant posting the False Statements,

                                 19   Plaintiff has sustained, and will continue to sustain, immediate and irreparable harm and
                                 20
                                      injury including, but not limited to, damage to reputation, losses in business
                                 21
                                 22   opportunities, loss of earnings, loss of earning capacity, and a loss of business relations

                                 23   with existing and future business prospects, including potentially ERAU and other
                                 24
                                      academic institutions.
                                 25
                                             78.     Plaintiff has suffered general and special damages in an amount to be
                                 26
                                 27   proven at trial.
                                 28


                                                                                   11
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                                  1
                                             79.    In making and publishing the False Statements, Defendant acted

                                  2   maliciously, willfully, wantonly, and unlawfully.
                                  3
                                             80.    For such willful and malicious acts, Plaintiff hereby seeks punitive
                                  4
                                      damages in addition to actual damages.
                                  5
                                  6          81.    Defendant’s acts, omissions, conduct and transactions alleged herein were
                                  7
                                      aggravated, outrageous, and guided by evil motives wherein Defendant intended to harm
                                  8
                                      Plaintiff and/or consciously pursued a course of conduct knowing that it created a
                                  9
                                 10   substantial risk of significant harm to Plaintiff.
                                 11          82.    To dissuade Defendant from pursuing a similar course of conduct in the
                                 12
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                                      future and to discourage other persons from similar conduct in the future, an award of
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                                 14   punitive damages should be awarded against Defendants in the sum of sufficient
                                 15   magnitude to punish Defendant and to deter similar conduct by others.
                                 16
                                               COUNT IV—APPLICATION FOR PERMANENT INJUNCTION
                                 17
                                 18          83.    All of the allegations contained within the paragraphs above and below are

                                 19   hereby incorporated by reference as if fully set out herein.
                                 20
                                             84.    As a direct and proximate result of Defendant posting the False Statements,
                                 21
                                 22   Plaintiff has sustained, and will continue to sustain, immediate and irreparable harm and

                                 23   injury including, but not limited to, damage to reputation, losses in business
                                 24
                                      opportunities, loss of earnings, loss of earning capacity, and a loss of business relations
                                 25
                                      with existing and future business prospects, including potentially ERAU and other
                                 26
                                 27   academic institutions.
                                 28


                                                                                    12
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                                  1
                                             85.    The False Statements made by Defendant impeach the honesty, integrity, or

                                  2   reputation of Plaintiff.
                                  3
                                             86.    The False Statements are defamatory on their face.
                                  4
                                             87.    There is a substantial risk that unless Defendant’s wrongful acts described
                                  5
                                  6   herein are permanently enjoined, Defendant will continue to irreparably injure Plaintiff
                                  7
                                      by publishing the False Statement and/or publishing additional false and defamatory
                                  8
                                      statements.
                                  9
                                 10          88.     Plaintiff has no adequate remedy at law; therefore, Plaintiff is entitled to
                                 11   injunctive relief, including, but not limited to, an order requiring Defendant remove the
                                 12
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                                      False Statements (if any remain online) and prohibiting Defendant from publishing
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                                 14   and/or publicly communicating any false and defamatory statements.
                                 15           WHEREFORE, Plaintiff demands judgment against Defendants as follows:
                                 16
                                             A.     For a permanent injunction compelling Defendants to remove from the
                                 17
                                 18                 Internet all false and defamatory material pertaining to Plaintiff;

                                 19          B.     For a permanent injunction compelling Defendants to remove from the
                                 20
                                                    Internet all False Statements pertaining to Plaintiff;
                                 21
                                 22          C.     For a permanent injunction enjoining Defendants from publishing the False

                                 23                 Statements and/or any other defamatory material to any third party;
                                 24
                                             D.     For general damages in an amount to be proven at trial;
                                 25
                                             E.     For special damages in an amount to be proven at trial;
                                 26
                                 27          F.     For punitive damages in an amount to be proven at trial;
                                 28


                                                                                   13
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                                  1
                                            G.    For Plaintiff’s costs herein incurred;

                                  2         H.    For Plaintiff’s reasonable attorneys’ fees incurred herein;
                                  3
                                            I.    For interest on the foregoing attorneys’ fees and court costs at the statutory
                                  4
                                                  rate from the date of judgment until paid;
                                  5
                                  6         J.    For prejudgment and post-judgment interest on all damages at the highest
                                  7
                                                  rate allowed by law from the date of injury until paid in full; and
                                  8
                                            K.    For such other and further relief as the Court deems just and proper.
                                  9
                                 10
                                 11         RESPECTFULLY SUBMITTED this 14th day of May, 2021.
                                 12
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                                 14                                    By:     /s/ Daniel R. Warner, Esq
                                 15                                            Daniel R. Warner, Esq.
                                                                               8283 N. Hayden Road Suite 229
                                 16                                            Scottsdale, Arizona 85258
                                 17                                            Attorneys for Plaintiff

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